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                Exhibit 7
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                                                                          Michael Harris
                                                                          +1 312.315.0917 Direct
                                                                          Michael.Harris@arnoldporter.com




                                               August 24, 2022



     Via Email - web@bapeus.com
     and Overnight Carrier

     USAPE LLC
     91 Greene Street
     New York, NY 10012-3803
     and
     USAPE LLC
     c/o United Agent Group, Inc.
     3411 Silverside Rd., Tatnal Building #104
     Wilmington, DE 19810

              Re:     Notice of Violations Regarding Nike’s Trademark Rights

     To USAPE LLC,

            We represent Nike, Inc. (“Nike”) in intellectual property matters. We write
     regarding USAPE LLC’s (“BAPE’s”) recent re-emergence in the U.S. footwear market as
     well as its recent announcement regarding a planned footwear collaboration with Disney
     and Marvel. Several BAPE products make unauthorized use of the distinctive trade dress
     of Nike’s iconic Air Force 1 and Dunk shoe designs and are likely to cause confusion
     and/or dilution, or to create an erroneous association between your company’s footwear
     product offerings, Disney, Marvel, and Nike.

           Relevant to this letter, Nike owns trade dress rights covering its iconic Air Force 1
     and Dunk shoe designs, as shown below (the “NIKE Trademarks”).




Arnold & Porter Kaye Scholer LLP
70 W Madison Street, Suite 4200 | Chicago, IL 60602-4321 | www.arnoldporter.com
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                                The NIKE Trademarks

                       Air Force 1 High, Mid, & Low Trade Dress




                                   Dunk Trade Dress




        Nike has continuously promoted and sold a wide range of goods under the NIKE
Trademarks for many decades. The NIKE Trademarks are recognized as source identifiers
for the high-quality products originating exclusively from Nike. Nike owns both common
law and registered trademark rights in the NIKE Trademarks. Many of these registrations
are incontestable and constitute conclusive evidence of the validity of the NIKE
Trademarks, NIKE’s ownership of the NIKE Trademarks, and NIKE’s exclusive right to
use the NIKE Trademarks.

       As a trademark owner, Nike is obligated under the law to guard against
unauthorized uses of its marks that may impact its rights. Consequently, Nike regularly
monitors the marketplace for unauthorized reproductions of its trademarks, and takes steps
to resolve unauthorized uses where necessary. Such unauthorized uses include the
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manufacture, promotion, and/or offer for sale of footwear that infringes Nike’s intellectual
property rights in its iconic Air Force 1 and Dunk designs. Indeed, Nike is actively
enforcing its rights against parties involved in the manufacture, promotion, and/or sale of
such infringing products. See, e.g., Nike, Inc. v. Warren Lotas, No. 2:20–cv–09431, 2020
WL 7264552, at *1 (C.D. Cal. Nov. 18, 2020) (granting Nike’s Motion for a Preliminary
Injunction against Warren Lotas); Nike, Inc. v. La La Land & John Geiger, No. 2:21-cv-
00443 (C.D. Cal.) (infringement judgment entered against La La Land; ongoing as to John
Geiger); Nike, Inc. et al. v. Waskowiak et al., No. 3:21-cv-1068, D.I. 15 (D. Or., Dec. 13,
2021) (infringement judgment entered against KickRich); Nike, Inc. v. Customs By Ilene
Inc., No. 5:21-cv-01201-JWH-SP (C.D. Cal.) (ongoing). Nike’s enforcement against this
type of illegal activity not only protects Nike’s trademark rights, but also ensures that
consumer expectations will be met when purchasing products bearing the NIKE
trademarks.

        We recently learned your company, BAPE, allegedly together with Disney and
Marvel, is unlawfully promoting and intends to sell shoes that make unauthorized use of
the distinctive trade dress of Nike’s Air Force 1 shoe design. While it is not clear to us that
Disney and Marvel are legitimately involved with the “A BATHING APE® X MARVEL”
release, BAPE’s involvement is clear.1 Example images are shown below (the “Infringing
Collaboration Products”)2.

                             The Infringing Collaboration Products




1
    See, e.g., https://www.instagram.com/p/ChcafCfrVgD/.
2
 See J. Hernandez, Marvel and A Bathing Ape Revisit The BAPE STA With Iron Man, Captain America, and
More, Sneaker News (August 18, 2022), available at https://sneakernews.com/2022/08/18/marvel-bape-
bapesta-2022-release-date/?utm_campaign=later-linkinbio-sneakernews&utm_content=later-
29032738&utm_medium=social&utm_source=linkin.bio.
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         The Infringing Collaboration Products apply BAPE and third-party branding and
images (i.e., Disney and Marvel branding and images) to Nike’s iconic Air Force 1
silhouette, suggesting a false collaboration between Nike, BAPE, Disney, and Marvel that
is likely to cause confusion between your company’s product offerings, Disney, Marvel,
and Nike. It is Nike’s prerogative to choose with whom it collaborates and what message
its designs convey. These considerations are an integral part of Nike’s branding and quality
control over its designs. By creating products that insinuate collaborations that do not exist,
BAPE has and will continue to cause substantial harm to Nike’s brand and hard-earned
reputation.

        In addition, we recently learned of BAPE’s re-emergence in the U.S. footwear
market, in which it is selling and promoting shoes that make unauthorized use of the
distinctive trade dress of Nike’s Air Force 1 and Dunk shoe designs. Example images from
your website are shown below (the “Infringing BAPE Products”).

                             The Infringing BAPE Products

             Infringing Product                              Nike’s Trade Dress
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             Infringing Product                            Nike’s Trade Dress




       We understand this wasn’t always the case. Prior to being acquired by I.T. in 2011,
BAPE’s initial presence and product offerings in the United States footwear market were
limited and not widely available through online websites or markets. After being
purchased by I.T., BAPE’s footwear offerings focused on its Asian audience as its United
States presence waned. During this time, we understand that BAPE made efforts to
redesign its footwear products to less resemble Nike’s designs.

        BAPE’s recent re-emergence in the United States market is accompanied by a
material change in the volume and severity of its infringement of Nike’s intellectual
property. Specifically, we understand that BAPE recently redesigned its footwear products
in such a way that the products are nearly identical to (and, in some cases are identical to)
Nike’s iconic and protected designs, as demonstrated above. Further, we understand that
BAPE is selling the Infringing BAPE Products in several recently opened United States
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stores, including New York Madison Avenue, New York SoHo, Los Angeles, and Miami.
In addition to physical stores, the Infringing BAPE Products are made available for
purchase in the United States on BAPE’s website [us.bape.com].

        BAPE’s unauthorized use of the NIKE Trademarks is likely to cause confusion
and/or dilution, or to create an erroneous association between your company’s product
offerings and Nike. By selling and promoting the Infringing Collaboration Products and
Infringing BAPE Products depicted above, BAPE has and will continue to cause harm to
Nike’s brand and hard-earned reputation. Moreover, your company’s unauthorized use of
the NIKE Trademarks constitutes trademark infringement, trademark dilution, and unfair
competition under state and federal laws.

        Accordingly, Nike requests that your company immediately stop distributing,
marketing, promoting, using, offering for sale, and/or selling in the United States, and
importing into the United States, any product that infringes the NIKE Trademarks,
including at least the Infringing Collaboration Products and Infringing BAPE Products
referenced above (and all colorways of the Infringing Collaboration Products and
Infringing BAPE Products). In addition, please provide us with the following information
so that we may discuss an amicable resolution of this matter with you:

       (1)    The number of Infringing Collaboration Products and Infringing BAPE
              Products BAPE has manufactured and/or sold;

       (2)    An accounting of BAPE’s revenues and profits from its sales of Infringing
              BAPE Products;

       (3)    The model numbers and identifying indicia for all of the Infringing
              Collaboration Products and Infringing BAPE Products;

       (4)    The number of all Infringing Collaboration Products and Infringing BAPE
              Products that remain in inventory; and

       (5)    The identity of the manufacturer(s), importer(s), and your
              supplier(s)/source(s) for the Infringing Collaboration Products and
              Infringing BAPE Products.
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       We would like to engage in discussions to amicably resolve this matter as quickly as
possible. Please contact me at your earliest convenience. You can email me at
Michael.Harris@arnoldporter.com or call me at (312) 315-0917. We look forward to
speaking with you about this issue. Note that this letter is without prejudice to Nike’s
assertion of any and all rights and remedies.

                                             Best regards,



                                             Michael Harris
